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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 8:04CR337-002

                                                      USM Number 19703-047

TAMARA SHEFFIELD
                Defendant
                                                      DAVID L. NICH

                                                      Defendant’s Attorney
___________________________________

                      AMENDED JUDGMENT IN A CRIMINAL CASE
Date of Original Judgment: 03/04/2008 (Or Date of Last Amended Judgment)

Reason for Amendment: Correction of Sentence for Clerical Mistake, added 500 hour drug
treatment recommendation (Fed. R. Crim. P. 36)

THE DEFENDANT admitted guilt to violation of one of the Mandatory Conditions of the term of
supervision.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offense:

                                                                            Date Violation
     Violation Number                Nature of Violation                     Concluded


 1                          Offender was found in possession of              July 3, 2007
                            methamphetamine

The Defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Violations 2 - 4 of the Petition are dismissed on the motion of the United States as to this
Defendant only.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                   March 3, 2008

                                                                      s/Laurie Smith Camp
                                                                      United States District Judge

                                                                          October 3, 2008
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Defendant: TAMARA SHEFFIELD                                                               Page 2 of 4
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 24 months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant be incarcerated in a federal facility as close to Omaha, Nebraska as
        possible.

2.      That the Defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

3.      Defendant shall be given credit for time served in Federal Custody.

The Defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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Defendant: TAMARA SHEFFIELD                                                                       Page 3 of 4
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                              CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

           $100.00 (paid)                         $0.00                         $24,788.28

The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.

                                                  FINE

          No fine imposed.

                                              RESTITUTION

         Restitution in the amount of $24,788.28 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below. Balance due as of March 3, 2008
is $23,461.76.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount               Amount of                or Percentage
     Name of Payee                 of Loss              Restitution Ordered           of Payment

 Commercial Federal               $13,393.28                $13,393..28          Priority
 Bank                                                                            Order/Percentage

 First National Bank              $10,959.00                 $10,959.00          Priority
                                                                                 Order/Percentage

 Sunny Drummond                     $436.00                   $436.00            Priority
                                                                                 Order/Percentage

 Totals                           $24,788.28                 $24,788.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.

Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
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                                     SCHEDULE OF PAYMENTS

Having assessed the Defendant’s ability to pay, the Court orders that payment of the total criminal
monetary penalties shall be due as follows:

        The special assessment in the amount of $100 has been paid in full.

Unless the Court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
Court, unless otherwise directed by the Court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Following release from incarceration, the Defendant shall make payments to satisfy the criminal
monetary penalty in monthly installments of $25.00 or 3% of her gross income, whichever is
greater. The first payment shall commence 30 days following the Defendant’s discharge from
incarceration, and continue until the criminal monetary penalty is paid in full. The Defendant shall
be responsible for providing proof of payment to the probation officer as directed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court. In the event a Defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Restitution is hereby ordered jointly and severally with: Gilbert M. Gibreal, 8:04CR337


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and Court costs.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
